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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                          Case No.: 1:16−cr−00438
                                                            Honorable John Z. Lee
Artem Vaulin, et al.
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, July 10, 2018:


       MINUTE entry before the Honorable John Z. Lee:As to Artem Vaulin. The status
hearing set for 7/11/18 is reset to 10/11/18 at 9:30 a.m. Mailed notice (ca, )




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